Case 3:12-cv-02389-PGS-DEA Document 1291 Filed 09/25/23 Page 1 of 2 PageID: 30420




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                                                September 13, 2023
  VIA ECF
  Honorable Douglas E. Arpert, U.S.M.J.
  United States District Court for the District of New Jersey
  Clarkson S. Fisher Federal Building & U.S. Courthouse
  402 East State Street
  Trenton, New Jersey 08608

                        RE: In re Lipitor Antitrust Litig.
                        Master Docket 12-cv-02389 (PGS-DEA)

  Dear Judge Arpert:

        I write on behalf of the direct purchaser class plaintiffs and the defendants to
  request a two-week extension of the deadline by which the parties in the above-
  captioned matter are to file their Omnibus Motion to Seal and proposed redactions
  with respect to confidential information contained in the motions for summary
  judgment and class certification.1 Currently, the filings are due today, see ECF No.
  1266 (granting prior request for short extension), but the parties believe that given
  more time they may be able to narrow any disputes and present a streamlined
  motion. We ask that the deadline be extended to September 27, 2023.

         We appreciate the Court’s consideration of this request and, should the
  extension by acceptable to Your Honor, we respectfully request that letter be “So
  Ordered” and entered on the docket. As always, we thank the Court for its
  attention to this matter and we are available should there be any questions.

                                               Sincerely,

                                               COHN LIFLAND PEARLMAN
                                               HERRMANN & KNOPF LLP

                                               Peter S. Pearlman
  cc: All Counsel of Record (via ECF)


         1
             The end payor class plaintiffs do not oppose this request.
Case 3:12-cv-02389-PGS-DEA Document 1291 Filed 09/25/23 Page 2 of 2 PageID: 30421




  Honorable Douglas E. Arpert, U.S.M.J.
  September 13, 2023
  Page 2


                                                 SO ORDERED:

                                                 __________________________ 9/22/2023
                                                 Hon. Douglas E. Arpert, U.S.M.J.
